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 UNITED STATES DISTRICT COURT
 DISTRICT OF NEW JERSEY
 ----------------------------------------------------X
 CJH ENTERPRISES LLC d/b/a
 LUCKY’S LEASH                                           COMPLAINT FOR A CIVIL CASE

                             Plaintiff,                  JURY TRIAL DEMANDED

                 -against-

 TEKNO PRODUCTS INC. and
 JEFF KURANI, individually,

                            Defendants.
 ----------------------------------------------------X


        CJH Enterprises LLC d/b/a Lucky’s Leash (“CJH” or “Plaintiff”), by and through its

attorneys Stagg Wabnik Law Group LLP, complaining of Defendants Tekno Products Inc.

(“Tekno”) and Jeff Kurani (“Kurani”) (collectively “Defendants”) alleges as follows:

                                          NATURE OF THE CLAIM

            1.     This is an action for trademark infringement in violation of Section 32(1) of the

   Lanham Act, 15 U.S.C. § 1114(1), false advertising in violation of Section 43(a) of the Lanham

   Act, 15 U.S.C. § 1125, and common law claims arising out of Defendants unauthorized use and

   sale of the Lucky’s Leash dog leash that CJH created. A photograph of Lucky’s Leash is

   annexed as “Exhibit A.”

            2.     On or about October 4, 2017, CJH and Tekno entered into a contract under which

   Tekno would market and sell Lucky’s Leash and pay CJH a portion of the net profits.
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         3.   Tekno breached the contract by failing to provide CJH with any payment and

  continuing to sell and market Lucky’s Leash, using the Lucky’s Leash trademark and trade

  dress, without CJH’s permission.

                                 JURISDICTION AND VENUE

         4.   This Court has jurisdiction over the action under 28 U.S.C. § 1331, 15 U.S.C. §

  1114, and 15 U.S.C. § 1125.

         5.   Pursuant to 28 U.S.C. § 1367, this Court has jurisdiction over the New Jersey State

  claims by way of supplemental jurisdiction.

         6.   Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and (c) as Tekno’s

  principal of business is located in the State of New Jersey, and upon information and belief,

  Kurani is a resident of the State of New Jersey.

                                        THE PARTIES

         7.   CJH is a North Carolina based limited liability company that invents products like

  Lucky’s Leash.

         8.   CJH maintains a principal place of business at 401 N. Tyron Street, Charlotte, North

  Carolina 28202.

         9.   On or about February 18, 2015, CJH filed a trademark application for Lucky’s

  Leash and was issued registration number 4965842 and serial number 86538127.

         10. Tekno is a corporation with a principal place of business located at 301 Route 17

  North, Rutherford, New Jersey 07070.

         11. Tekno markets and sells various goods and products, including products such as

  Lucky’s Leash.




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          12. At all relevant times herein, Kurani was Chief Executive Officer of Tekno, and

  upon information and belief, is a resident of the State of New Jersey and has total and unfettered

  control over Tekno.

                                    STATEMENT OF FACTS

          13. On or about February 18, 2015, CJH filed a trademark application with the United

  States Patent and Trademark Office (“USPTO”) for the standard character mark “Lucky’s

  Leash” (the “Mark”).

          14. On or about July 21, 2015, the USPTO published the Mark for opposition.

          15. The Mark was registered on or about May 24, 2016, and was issued registration

  number 4965842.

          16. On or about October 4, 2017, CJH and Tekno entered into a contract whereby

  Tekno would purchase CJH’s inventory of Lucky’s Leash and sell and market Lucky’s Leash

  for a one-year period (the “Contract”). Specifically, the Contract provided:

              In exchange for Tekno’s promise to purchase CJH[‘s] existing
              inventory of product subject to the application, and share a
              percentage of profits, CJH agrees to disclose all know-how to Tekno
              as well as grant Tekno an exclusive license to make, use, advertise,
              sell and otherwise exploit the product and associated intellectual
              property attached to same. . . .

A copy of the Contract is annexed hereto as “Exhibit B.”

          17. Pursuant to Section 5 of the Contract, Tekno was required to pay CJH 2.5% of net

  profits of Tekno’s Lucky’s Leash sales within sixty days of when Tekno received payment.

  Specifically, the Contact provided:

              Tekno agrees to use best efforts to sell product subject to paragraph
              3 and 4, and agrees to pay CJH 2.5% of net profits made by Tekno
              sales. Tekno agrees to pay CJH within 60 (sixty) days of Tekno’s
              receipt of payment for a sale. Tekno agrees to produce an initial
              order of 200,000-250,000 units in wich [sic] CJH will be
              compensated on.
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(Ex. B, Section 5.)

          18. Lucky’s Leash was an instant hit, and, upon information and belief, Tekno sold a

   voluminous amount of Lucky’s Leash.

          19. Nevertheless, Tekno refused and failed to pay CJH with 2.5% of the net profits of

   the many sales.

          20. Upon information and belief, Kurani totally controlled Tekno’s operations, and

   ensured that Tekno did not pay CJH.

          21. In or around 2018, CJH contacted Defendants regarding Tekno’s failure to pay

   CJH, but Defendants ignored CJH.

          22. Pursuant to Section 1 of the Contract, on or about July 25, 2018, CJH sent a letter

   to Kurani requesting that Kurani contact CJH before CJH exercised its right inspect Tekno’s

   records.

          23. Neither Kurani nor any other Tekno representative responded.

          24. The Contract expired on or about October 4, 2018.

          25. After the Contract expired, Defendants continued to sell Lucky’s Leash and use

   CJH’s intellectual property without CJH’s permission.

          26. Upon information and belief, Tekno continued to market and sell Lucky’s Leash

   through the internet and television, while continuing to use the Lucky’s Leash trademark and

   trade dress.

          27. Upon information and belief, Tekno, at Kurani’s direction, willfully did this

   without CJH’s permission because Tekno’s right to sell Lucky’s Leash and utilize CJH’s

   intellectual property ended upon the Contract’s expiration.

          28. Tekno has yet to cease marketing or selling Lucky’s Leash or using CJH’s

   intellectual property.
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           29. On or about August 24, 2020, CJH notified Tekno and Kurani in writing of Tekno’s

  breach of the Contract, and demanded inspection of Tekno’s records. A copy of CJH’s letter is

  annexed as “Exhibit C.”

           30. Specifically, CJH advised Tekno:

               Pursuant to Section 5 of the Agreement, Tekno was required to pay
               CJH 2.5% of the net profits of Tekno’s sales. To date, Tekno has not
               paid any sums to CJH, which is a breach of the Agreement. CJH
               demands that Tekno immediately make full payment to CJH and
               provide a copy of all books and records relating to Lucky’s Leash
               so that CJH can verify that any payment complies with the
               Agreement, as required by Section 5(b). Additionally, CJH suspects
               Tekno of engaging in unfair competition, and more specifically,
               trademark and copyright infringement. CJH demands that Tekno
               cease and desist from any further use of the Lucky’s Leash
               trademark or trade dress and cease any further sales of Lucky’s
               Leash.
(Ex. C.)

           31. Tekno has not cured its breach or responded to CJH’s letter.

                         AS AND FOR A FIRST CAUSE OF ACTION
                      (Trademark Infringement – Against All Defendants)

           32. CJH hereby repeats and realleges each and every allegation made in the above

  paragraphs of this complaint as if set forth herein.

           33. Defendants knowingly and willfully infringed on CJH’s rights in Lucky’s Leash by

  marketing, selling, and promoting Lucky’s Leash after termination of the Contract without

  CJH’s authorization, and by converting the goodwill of CJH to Tekno.

           34. Defendants’ acts are likely to cause confusion, mistake and deception in the minds

  of the public by misleading the public by creating the false and misleading impression that CJH

  is backing, affiliated or associated with Tekno, and that Tekno’s services are associated or

  connected with CJH, or have the sponsorship, endorsement, or approval of CJH.




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         35. Defendants’ acts are willful and constitute trademark infringement in violation of

  Section 32(1) of the Lanham Act, 15 U.S.C. § 1114(1).

         36. By reason of the foregoing, CJH has suffered and will continue to suffer damage to

  its business, reputation, and goodwill, and to the reputation and goodwill of its trademark and

  logos, including the Mark.

         37. By reason of the foregoing, CJH has been irreparably harmed and damaged in an

  amount to be determined at trial as a result of Defendants’ actions. CJH has no adequate remedy

  at law and is entitled to remedies provided for in 15 U.S.C. § 1116 et. seq.

                       AS AND FOR A SECOND CAUSE OF ACTION
                        (False Advertising – Against All Defendants)

         38. CJH hereby repeats and realleges each and every allegation made in the above

  paragraphs of this complaint as if set forth herein.

         39. Defendants intentionally and deliberately made false statements of fact about

  Lucky’s Leash, and its entitlement to use and sell it, when, among other things, Defendants

  continued to use and sell Lucky’s Leash without authorization after the Contract was

  terminated.

         40. These acts tended to deceive members of the public and deceptively influenced or

  had and have the effect of influencing decisions of the public to purchase Lucky’s Leash

  through Tekno based on Tekno’s supposed continued connection to CJH.

         41. CJH has been, and will continue to be, injured as a result of such false advertising

  in the form of direct and indirect sales as well as injury to the goodwill of Lucky’s Leash in the

  eyes of the general public.

         42. Defendants’ acts constitute false advertising in violation of Section 43(a) of the

  Lanham Act, 15 U.S.C. § 1125(a).

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         43. By reason of the foregoing, CJH has suffered and will continue to suffer damages

  in, among other things, potential lost profits and damages to its business, reputation and

  goodwill, and to the reputation and goodwill of its trademarks and logos, including the Mark.

         44. By reason of the foregoing, CJH has been irreparably harmed and damaged in an

  amount to be determined at trial as a result of Defendants’ activities.

         45. CJH has no adequate remedy at law and is entitled to the remedies provided for in

  15 U.S.C. §§ 1125 et. seq., 1116 et. seq., and 1117 et. seq.

                          AS AND FOR A THIRD CAUSE OF ACTION
                         (Breach of Contract – Against Defendant Tekno)

         46. CJH hereby repeats and realleges each and every allegation made in the above

  paragraphs of this complaint as if set forth herein.

         47. When CJH and Tekno entered into the Contract, they agreed that Tekno would

  market and sell Lucky’s Leash on the condition that Tekno would pay CJH 2.5% of the net

  profits of Tekno’s sales.

         48. When CJH and Tekno entered into the Contract, they agreed that Tekno could use

  CJH’s intellectual property to market and sell Lucky’s Leash.

         49. The Contract expired on or about October 4, 2018, and neither party requested to

  extend the Contract.

         50. Tekno, at the direction of Kurani, has not stopped using CJH’s intellectual property,

  and continues to use, sell and market Lucky’s Leash.

         51. Upon information and belief, Tekno, at the direction of Kurani, has not paid CJH

  2.5% of the net profits of Tekno’s sales, or any portion thereof.

         52. As a result of Defendants’ breach, CJH has suffered damages in an amount to be

  determined at trial.

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                         AS AND FOR A FOURTH CAUSE OF ACTION
                         (Unfair Competition – Against Defendant Tekno)

         53. CJH hereby repeats and realleges each and every allegation made in the above

  paragraphs of this complaint as if set forth herein.

         54. Defendants have, intentionally and without authorization, continued to use, market,

  and sell Lucky’s Leash to compete with CJH.

         55. Defendants have also caused damage to CJH’s business, reputation, and goodwill

  as well as the reputation and goodwill of CJH’s trademarks and logos, including the Mark.

         56. Defendants’ actions constitute, among other things, trademark infringement and

  misappropriation in violation of New Jersey’s law against unfair competition.

         57. By reason of the foregoing, CJH has been irreparably harmed and damaged in an

  amount to be determined at trial.

                        AS AND FOR A FIFTH CAUSE OF ACTION
                    (Breach of Fiduciary Duty – Against Defendant Tekno)

         58. CJH hereby repeats and realleges each and every allegation made in the above

  paragraphs of this complaint as if set forth herein.

         59. Tekno, in its position as a licensee to use Lucky’s Leash, was duty-bound to act in

  CJH’s best interest, to protect and maintain the goodwill established in CJH’s trademarks and

  logos, and market and sell Lucky’s Leash pursuant to the Contract.

         60. Tekno breached its fiduciary duty by, among other things, continuing to use, sell,

  and market Lucky’s Leash, and collect profits for the sale of Lucky’s Leash products after the

  Contract expired, and continuing to sell and market Lucky’s Leash without authorization and

  without accounting for this use, in violation of its fiduciary obligations to CJH.

         61. By reason of the foregoing, CJH has sustained damages in an amount to be

  determined at trial.
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                         AS AND FOR A SIXTH CAUSE OF ACTION
                        (Unjust Enrichment – Against Defendant Tekno)

         62. CJH hereby repeats and realleges each and every allegation made in the above

  paragraphs of this complaint as if set forth herein.

         63. Tekno has continued to use, sell, and market Lucky’s Leash without authorization.

         64. Tekno did not have authorization to continue using, selling, and marketing Lucky’s

  Leash and did not provide any consideration for continuing to use, sell, and market Lucky’s

  Leash once the Contract was terminated.

         65. Tekno has therefore been unjustly enriched at CJH’s expense, and it is against

  equity and good conscience to permit Tekno to continue to use, sell, and market Lucky’s Leash

  and retain revenues secured through Tekno’s sales.

         66. By reason of the foregoing, Tekno has been unjustly enriched at CJH’s expense,

  entitling CJH to recover damages in amount to be determined at trial.

                       AS AND FOR A SEVENTH CAUSE OF ACTION
                         (An Accounting – Against Defendant Tekno)

         67. CJH hereby repeats and realleges each and every allegation made in the above

  paragraphs of this complaint as if set forth herein.

         68. CJH is entitled to 2.5% (if not all) of the profits generated by Defendants using,

  selling, and marketing Lucky’s Leash.

         69. Accordingly, the acts described above warrant an equitable accounting of Tekno’s

  books and records to identify all of the revenues generated using, selling, and marketing

  Lucky’s Leash.

                                        JURY DEMAND

      CJH demands a trial by jury on all issues to be tried.



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                                         CERTIFICATION

       I certify to the best of my knowledge, information, and belief that this complaint: (1) is not

being presented for an improper purpose, such as to harass, cause unnecessary delay, or needlessly

increase the cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for

extending, modifying, or reversing existing law; (3) the factual contentions have evidentiary

support or, if specifically so identified, will likely have evidentiary support after a reasonable

opportunity for further investigation or discovery; and (4) the complaint otherwise complies with

the requirements of Rule 11.

                                     PRAYER FOR RELIEF

       WHEREFORE, for all of the foregoing reasons, it is respectfully requested that judgment

is entered in favor of CJH as follows:

       A. Permanent injunctive relief against Defendants, their agents, servants, employees, other

           representative or persons in active concert or participation with them or persons acting

           on their behalf, prohibiting Defendants from:

               i. Using, selling, and/or marketing Lucky’s Leash, trademark, likeness, or designs

                    to falsely represent, or likely to confuse, mislead, or deceive members of the

                    public that the sale of Lucky’s Leash by Defendants are reviewed, approved,

                    backed, affiliated, associated, connected, sponsored or endorsed by CJH; and

               ii. Diluting the value of Lucky’s Leash and CJH’s trade dress and damaging CJH’s

                    good will, reputation, and business;

       B. A declaration that Tekno has no right to continue using, marketing, or selling Lucky’s

           Leash;

       C. Damages in an amount to be determined at trial, including, but not limited to, punitive

           damages;
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      D. Treble damages;

      E. Attorney’s fees, costs, appropriate interest and disbursements; and

      F. Such other and further relief as may be just and proper.


Dated: Garden City, New York
       October 27, 2020

                                           Stagg Wabnik Law Group LLP



                                           By: /s/ Thomas E. Stagg
                                                   Thomas E. Stagg
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